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                    Exhibit 5
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April 26, 2024                                                          US Managing Partner
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CONFIDENTIAL
VIA ELECTRONIC
MAIL

               Lauren E. Battaglia, Esq.
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  Re:      U.S. v. ASSA ABLOY AB, et al., Case No. 1:22-cv-02791-ACR

Dear Lauren:
        I am in receipt of your April 17, 2024, letter presenting untimely objections on behalf of
ASSA ABLOY. Your letter misunderstands the monitoring trustee’s role. As provided in the
Final Judgment, the monitoring trustee must “monitor Defendants’ compliance with the terms of
this Final Judgment and the Asset Preservation Stipulation and Order [APSO] entered by the
Court[.]” FJ § X(B). The monitoring trustee must also conduct an investigation of whether
Fortune Brands maintains competitive intensity in residential smart locks between three years
from the date of the divestiture and five years from the date of the Final Judgment relative to
ASSA ABLOY’s pre-divestiture baseline. FJ § IV.

        These provisions mean that my colleagues and I must seek and assess actual evidence of
compliance and of competition for the sale of residential smart locks. Passively receiving
representations from counsel without further inquiry does not discharge my duty to monitor
compliance with the Final Judgment and the APSO, and assuming rather than verifying the
maintenance of Fortune Brands’ competitive intensity in residential smart locks post-divestiture
relative to ASSA ABLOY’s pre-divestiture competitive intensity does not satisfy my duty to
investigate competitive intensity. All of ASSA ABLOY’s objections reflect a fundamental
misunderstanding of the monitorship, and I trust that once these misunderstandings have been
corrected, ASSA ABLOY will begin complying with its obligation to “use best efforts to assist
the monitoring trustee to monitor Defendants’ compliance with their obligations under this Final
Judgment and the Asset Preservation Stipulation and Order.” FJ § X(H).



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 I.     ASSA ABLOY Misunderstands the Monitoring Trustee’s Responsibilities

        Importantly, I cannot agree with ASSA ABLOY that my responsibilities are as “narrow”
as simply assessing “ASSA ABLOY’s compliance with the terms of the supply and transition
services agreements.” 1 The Final Judgment directs that “[t]he monitoring trustee must
investigate and report on ASSA ABLOY’s compliance with this Final Judgment, the Asset
Preservation Stipulation and Order, and any inter-party agreements between Acquirer and ASSA
ABLOY relating to the divestiture, including by investigating and reporting pursuant to Section
IV of this Final Judgment and regarding compliance with the terms of this Final Judgment.” FJ §
X(I) (emphasis added). The APSO, in turn, provides that “[f]or the avoidance of doubt, the
United States’ consent does not waive any rights or authority the United States or the court-
appointed monitor trustee retain under any provision of the proposed Final Judgment with
respect to Section IV, compliance with the terms of the proposed Final Judgment, this
Stipulation, or divestiture agreements, or consenting or withholding consent for any subsequent
modifications as contemplated by the proposed Final Judgment.” APSO § VI(B).

         Based on those provisions and on consultations with the U.S. Department of Justice
Antitrust Division (DOJ), I understand my mandate to include assessing whether each required
element of the divestiture under the Final Judgment, APSO, and incorporated agreements
between ASSA ABLOY and Fortune Brands actually occurred so as to ensure that the parties
completed the divestiture within the terms of the DOJ’s consent and the Court’s orders. This
means my team must review documents and evidence, conduct interviews, and otherwise verify
the representations ASSA ABLOY has made as to its compliance with the material obligations of
the agreements it has entered to the extent that the Court’s orders require compliance with those
obligations. While this may not require detailed examination of all aspects of ASSA ABLOY’s
business activities the way a conduct monitorship might, it does require a thorough examination
of the performance of the divestiture agreements to ensure that ASSA ABLOY has in fact
complied with its obligations. I therefore cannot agree with ASSA ABLOY’s attempt to
artificially narrow the scope of my responsibilities and must instead fulfill my duties under the
Court’s orders.

II.     ASSA ABLOY’s Objections Fail to Comply with the Final Judgment

        I note that ASSA ABLOY’s objections do not conform to the requirements of the Final
Judgment, which provides that ASSA ABLOY “may not object to actions taken by the
monitoring trustee in fulfillment of the monitoring trustee’s responsibilities under any Order of
the Court on any ground other than malfeasance by the monitoring trustee” and that any such
objections “must be conveyed in writing to the United States and the monitoring trustee within
10 calendar days of the monitoring trustee’s action that gives rise to [ASSA ABLOY’s]
objection.” FJ § X(C). ASSA ABLOY received the requests for meetings, documents, and
information at issue as well as the disputed invoices far more than 10 days prior to your letter,
and ASSA ABLOY has not identified any “malfeasance”—just ASSA ABLOY’s implausibly
narrow construction of the Final Judgment.



1
    See Ltr. of Lauren E. Battaglia dated April 17, 2024, at 1.
                                                   2
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        The untimeliness is especially significant as ASSA ABLOY has already stalled on
complying with the outstanding meeting, document, and information requests for several weeks,
substantially impairing my team’s ability to complete our assessment of ASSA ABLOY’s
compliance with the Final Judgment and APSO. Cf. FJ § X(H) (“ASSA ABLOY and Acquirer
may not take any action to interfere with or to impede accomplishment of the monitoring
trustee’s responsibilities.”). Given the importance of the requirement for timely objections to
ensuring prompt confirmation of ASSA ABLOY’s compliance with the Final Judgment, the DOJ
would have ample grounds to disregard ASSA ABLOY’s letter on this basis alone.

III.    ASSA ABLOY’s Failure to Prove Transfer of the Smart Lock Foreign Divestiture
        Assets Requires Further Investigation

        Beyond the failure to object in a manner consistent with the Final Judgment, ASSA
ABLOY’s complaints have no substantive merit. As to the Vietnam divestiture, the DOJ has
advised that ASSA ABLOY has failed to meet its burden of proving (not merely representing)
transfer of the Smart Lock Foreign Divestiture Assets or, at a minimum, transfer of “operational
control . . . such that the purposes of the divestiture have been carried out.” FJ § VI(C). 2 In
particular, neither ASSA ABLOY nor Fortune Brands has provided proof of the Vietnamese
government’s approval of the amended Enterprise Registration Certificate or Investment
Registration Certificate, nor have they shown that the Vietnam divestiture has closed. Rather, we
understand that the purchase price for the transaction remains in escrow pending completion of
the relevant governmental approvals. While we understand that ASSA ABLOY maintains legal
transfer occurred despite the absence of the relevant governmental approvals and the failure of
the parties to close the transaction, it has provided no evidence supporting that contention.

        By default, therefore, ASSA ABLOY would owe penalties of $50,120 per day as of the
beginning of this year ($5,813,920 as of the date of this letter) if it did not meet its burden to
demonstrate transfer of operational control to Fortune Brands. Id. When ASSA ABLOY failed to
meet its burden, the DOJ asked the monitoring trustee to do the job ASSA ABLOY was
obligated to do and develop the evidence to show whether operational control has fully
transferred. That requires production and analysis of evidence as well as interviews with relevant
employees at ASSA ABLOY and Fortune Brands—not conclusory representations by counsel—
and ASSA ABLOY’s failure to cooperate with the MTT’s investigation only puts it at risk of
having to pay the accrued penalties. See FJ § X(H) (monitoring trustee entitled to “full and
complete access to all personnel, books, records, and facilities of the Divestiture Assets” and
“ASSA ABLOY . . . may not take any action to interfere with or to impede accomplishment of
the monitoring trustee’s responsibilities”). To date, ASSA ABLOY has not provided access to
any ASSA ABLOY personnel for an interview on these crucial issues, and I would urge ASSA
ABLOY to cooperate with the relevant interview and written information requests so that the
MTT may efficiently conclude the compliance investigation regarding the Smart Lock Foreign
Divestiture Assets.




2
    See Ltr. of Matthew Huppert dated February 29, 2024.
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IV.    The Final Judgment Requires an Investigation of Competitive Intensity

       FJ § IV provides:

               If, after three years following the Divestiture Date and until the
       date that is five years from entry of this Final Judgment, the monitoring
       trustee determines, after investigation and consultation with the United
       States, ASSA ABLOY and Acquirer, that:

               a. Acquirer’s competitive intensity in the residential Smart Locks
                  business has diminished relative to ASSA ABLOY’s
                  competitive intensity in that business as of the Divestiture Date;
                  and

               b. Such diminishment in competitive intensity is in material part
                  due to limitations on Acquirer’s right to use the rights held by
                  ASSA ABLOY to the Yale brand name or trademarks in the
                  U.S. and Canada as of the Divestiture Date, then

       the monitoring trustee may, after consultation with the United States,
       provide a written report of the monitoring trustee’s conclusions to the
       United States.

        By its terms, this paragraph requires the monitoring trustee to conduct an “investigation”
to “determine[]” whether Fortune Brands’ post-divestiture competitive intensity declines relative
to ASSA ABLOY’s pre-transaction competitive intensity on residential smart locks, and, if so,
whether the limitations on Fortune Brands’ trademark rights materially contributed to the
decline. The Final Judgment does not state that this “investigation” into competitive intensity
will only begin three years following the Divestiture Date (i.e., June 20, 2026). Rather, the Final
Judgment requires me to determine whether competitive intensity has “diminished relative to
ASSA ABLOY’s competitive intensity in that business as of the Divestiture Date,” meaning my
team and I must establish a pre-transaction baseline for competitive intensity and then observe
how competitive intensity evolves after the Divestiture Date relative to this baseline.
Establishing that baseline—which includes the period between the end of litigation discovery
and the Divestiture Date—has been a substantial focus of my team’s analysis since the inception
of the monitorship.

        In addition, my team’s work does not end after establishing the competitive baseline.
Competition does not occur in a vacuum, with Fortune Brands only competing against itself.
Rather, it occurs through the activities of competitors, product changes and innovations, shifting
trends in consumer preferences, and other dynamic processes.

       My team must therefore continue to understand how competition in the industry evolves
between the Divestiture Date and the assessment period so as to know what maintained or
diminished competitive intensity would look like between June 20, 2026, and September 13,
2028. Since ASSA ABLOY remains a substantial competitor in the smart lock space, its data and
business plans have indisputable relevance to the investigation required by the Final Judgment
because those materials will provide unique perspective on the relevant market dynamics.
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Information solely from Fortune Brands is not sufficient for my team to evaluate Fortune
Brands’ position relative to its other competitors. And understanding whether possible alternative
causes of any decline in competitive intensity (such as an industry-wide slowdown or a failure of
Fortune Brands to innovate as vigorously as its competitors) will aid my team in determining
whether the limitations of Fortune Brands’ trademark rights materially contributed to any such
decline. Importantly, moreover, nothing in the Final Judgment entitles ASSA ABLOY to dictate
the timing of my investigation of competitive intensity or to require my team to conduct this
investigation on a compressed timeline in 2026 rather than in an orderly manner over the course
of the monitorship.

        As for the specific requests, they seek nothing more than structured data and completed
business plans that ASSA ABLOY already prepares and maintains in the ordinary course of its
business. We see no unreasonable burden in producing such materials, and you have cited no
evidence that compliance with these requests would impose costs or disruptions disproportionate
to the importance of the information. ASSA ABLOY may designate the materials under the
protective order as needed to preserve confidentiality, and I have already offered to work with
ASSA ABLOY to establish a manageable production schedule. Finally, the document requests
pertain to residential, multifamily, and commercial smart locks because my specific mandate is
to determine whether a “diminishment in competitive intensity is in material part due to
limitations on [Fortune Brands’] right” to trademarks associated with “the Yale branded
commercial business,” so evidence from all three sectors will bear on the investigation the Final
Judgment requires me to undertake. See FJ §§ II(P) & IV(b). Under the circumstances, ASSA
ABLOY has no valid objection to the interview, document, and data requests, and it should work
collaboratively with my team to fulfill those requests so we can conduct the required
investigation of competitive intensity as efficiently as possible.

 V.    The Invoices to Date Reflect the Work Needed to Comply with the Final Judgment’s
       Requirements for the Monitoring Trustee

        The Final Judgment provides that “[t]he monitoring trustee will serve at the cost and
expense of ASSA ABLOY,” that “[t]he monitoring trustee may hire, at the cost and expense of
ASSA ABLOY, any agents and consultants . . . that are reasonably necessary in the monitoring
trustee’s judgment to assist with the monitoring trustee’s duties,” and that “[t]he compensation of
the monitoring trustee and agents or consultants retained by the monitoring trustee must be on
reasonable and customary terms commensurate with the individuals’ experience and
responsibilities.” FJ §§ X(D)-(F). Consistent with these provisions, ASSA ABLOY has been
duly advised of the legal, compliance, and economic consultants retained to assist the monitoring
trustee and their billing rates.

        Our work to date has included project management to ensure the monitorship remains
within the scope of duties outlined in the Final Judgment. Within these parameters, we have
undertaken efforts to make initial assessments of the Final Judgment and the APSO
requirements, review the relevant portions of the litigation record, conduct conferences with
counsel for the merging parties and interviews with relevant witnesses, identify gaps and submit
requests for evidence we need for our assessments, prepare an initial report to the DOJ, and
otherwise lay the groundwork for the required compliance and competitive intensity
investigations. These labor-intensive processes necessarily have involved significant time

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investments by the skilled professionals on my team given the large amount of material we need
to understand, and the invoices to date reflect that fact. More active and collaborative
cooperation by ASSA ABLOY will go a long way to streamlining my team’s work and enabling
us to more efficiently conclude the investigations that the Final Judgment requires us to
undertake.

        As noted in my April 17, 2024, email, I have submitted all invoices according to the
process ASSA ABLOY requested, and any belated changes in ASSA ABLOY’s invoicing
preferences do not excuse it from its obligation to pay the monitoring team’s invoices in a timely
manner. ASSA ABLOY is now 125 days delinquent on the October 2023 invoice (submitted
November 20, 2023, and due January 20, 2024) and 94 days delinquent on the November 2023
invoice (submitted December 20, 2023, and due February 20, 2024), and has recently fallen into
arrears on the January 2024 invoice (submitted on February 23, 2024, and due April 23, 2024).
Pursuant to the terms of the Final Judgment, I must insist on prompt payment of all outstanding
invoices as billed.

                                               ***

        For the foregoing reasons, I believe the objections outlined in your letter are unfounded.
Please confirm as soon as possible that ASSA ABLOY intends to cease its obstructive behavior
and to comply with its obligations under the Final Judgment. We are always available to discuss
any issues on which you need further clarification, and you are welcome to raise any concerns
you may have with the DOJ as appropriate.

Very truly yours,

/s/ Melinda R. Coolidge

Melinda R. Coolidge




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